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    12                             UNITED STATES DISTRICT COURT
    13                         CENTRAL DISTRICT OF CALIFORNIA
    14

    15   JEFFREY B. SEDLIK,                                Case No.: 2:21-cv-01102-DSF-MRW
    16                       Plaintiff,                    Hon. Dale S. Fischer
    17
                                                           Courtroom 7D
                 v.
    18                                                     PLAINTIFF JEFFREY B.
         KATHERINE VON DRACHENBERG                         SEDLIK’S NOTICE OF APPEAL
    19   (a.k.a. “KAT VON D”), an individual;
         KAT VON D., INC., a California                    Action Filed: February 7, 2021
    20   corporation; HIGH VOLTAGE
         TATTOO, INC., a California corporation;           Trial: January 23-26, 2024
    21   and DOES 1 through 10, inclusive,
    22                       Defendants.
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     1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
     2           PLEASE TAKE NOTICE that Plaintiff Jeffrey B. Sedlik (“Plaintiff”) hereby
     3   appeals to the United States Court of Appeals for the Ninth Circuit from the judgment
     4   entered on January 30, 2024 (the “Judgment,” Dkt. No. 223) as well as any and all
     5   rulings, decisions, and orders adverse to Plaintiff, including, but not limited to,
     6   rulings, decisions, and orders on the record at hearings prior to and during the trial.
     7           A true and correct copy of the Judgment is attached hereto as Exhibit A.
     8           For the avoidance of doubt, Plaintiff’s appeal includes, but is not limited to, the
     9   following:
    10           1.    The rulings adverse to Plaintiff in the order regarding Defendants’
    11   motion to compel (Dkt. No. 25, Exhibit B);
    12           2.    The rulings adverse to Plaintiff in the Court’s summary judgment order
    13   (Dkt. No. 69, Exhibit C);
    14           3.    The rulings adverse to Plaintiff in the Court’s order on the motions to
    15   exclude Defendants’ expert testimony (Dkt. No. 71, Exhibit D);
    16           4.    The rulings adverse to Plaintiff in the Court’s order regarding the parties’
    17   motions for reconsideration of the summary judgment order (Dkt. No. 160, Exhibit
    18   E);
    19           5.    The rulings adverse to Plaintiff in the Court’s order granting Defendants’
    20   motion to quash (Dkt. No. 200, Exhibit F);
    21           6.    The rulings adverse to Plaintiff in the Court’s order on the parties’
    22   motions in limine, including, but not limited to, the Court’s exclusion of Plaintiff’s
    23   expert testimony (Dkt. No. 201, Exhibit G);
    24           7.    The rulings adverse to Plaintiff in the Court’s written order (Dkt. No.
    25   206, Exhibit H) and oral orders at trial regarding the parties’ evidentiary objections to
    26   the trial exhibits;
    27           8.    The rulings adverse to Plaintiff in the Court’s order on the parties’
    28   evidentiary objections to the deposition of Bryan Vanegas (Dkt. No. 207, Exhibit I);
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     1           9.    The rulings adverse to Plaintiff regarding Plaintiff’s motions for directed
     2   verdict or judgment as a matter of law during trial;
     3           10.   The Jury Verdict dated January 26, 2024 (Dkt. No. 217,
     4   Exhibit J);
     5           11.   The rulings adverse to Plaintiff regarding the jury instructions (Dkt. No.
     6   219, Exhibit K) and all previous versions thereof;
     7           12.   The rulings adverse to Plaintiff in the Court’s order on Defendants’
     8   motion to tax costs (Dkt. No. 244, Exhibit L); and
     9           13.   The rulings adverse to Plaintiff in the Court’s order on Plaintiff’s motion
    10   for judgment as a matter of law and request for a new trial (Dkt. No. 249, Exhibit M).
    11           Pursuant to Ninth Circuit Rule 3-2, a Representation Statement identifying all
    12   parties to the action, along with the names, addresses, and telephone number of their
    13   respective counsel, is attached hereto as Exhibit N.
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    15    DATED: May 22, 2024                    GLASER WEIL FINK HOWARD
                                                  JORDAN & SHAPIRO LLP
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                                                 By: /s/ Robert E. Allen
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                                                 ROBERT E. ALLEN
    19                                           LARA A. PETERSEN
                                                 JASON C. LINGER
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                                                 Attorneys for Plaintiff
    21                                           JEFFREY B. SEDLIK
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